                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL DOCKET 3:07CR195-3-RJC
                                        5:07CR-19-4-RLV


UNITED STATES OF AMERICA      )
                              )
           vs.                )
                              )
                              )                                 ORDER
DARRELL RAY THOMAS            )
______________________________)


       THIS MATTER is before the Court on its own motion to consolidate the above
referenced matters for sentencing. The Court finds that the interests of justice and judicial
economy warrant the consolidation of these matters.
       IT IS, THEREFORE, ORDERED that the above captioned cases be
consolidated. Docket No. 3:07CR195-3-RJC is hereby transferred to the Honorable
Richard L. Voorhees to be consolidated with Docket No. 5:07CR19-4-RLV for
sentencing purposes.




                                             Signed: October 27, 2008




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